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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        Case No. 1:12-cr-00360-DAD-BAM-2
12                     Plaintiff,
13          v.                                        ORDER GRANTING DEFENDANT’S
                                                      UNOPPOSED MOTION FOR EARLY
14   GUSTAVO ANGEL SALINAS,                           TERMINATION OF SUPERVISED
                                                      RELEASE
15                     Defendant.
                                                      (Doc. No. 214)
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18          Upon consideration of Defendant Gustavo Salinas’ Unopposed Motion for Early
19   Termination of Supervised Release (Doc. No. 214), and it appearing to the Court that good cause
20   exists for the termination, the Court hereby grants Defendant’s motion for early termination of
21   supervised release.
22
     IT IS SO ORDERED.
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24      Dated:     February 16, 2017
                                                         UNITED STATES DISTRICT JUDGE
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